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  8                     United States District Court
  9                     Central District of California
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 11   ROSE MCGOWAN,                           Case № 2:19-cv-09105-ODW (GJSx)
 12                    Plaintiff,
 13                                           JUDGMENT
            v.
 14   HARVEY WEINSTEIN, et al.,
 15                    Defendants.
 16
 17
 18         Pursuant to the Court’s November 9, 2021 Order (ECF No. 92) and its
 19   December 6, 2021 Minute Order (ECF No. 101), it is hereby ORDERED,
 20   ADJUDGED, and DECREED as follows:
 21   ///
 22   ///
 23   ///
 24   ///
 25   ///
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 28   ///
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  1     1. Plaintiff Rose McGowan shall take nothing from Defendants Harvey Weinstein;
  2        David Boies; Boies Schiller Flexner, LLP; Lisa Bloom; The Bloom Firm; and
  3        B.C. Strategies Ltd. on her first claim for violations of the Racketeering
  4        Influences and Corrupt Organizations Act (“RICO”).
  5     2. Plaintiff’s RICO claim is DISMISSED ON THE MERITS AND WITH
  6        PREJUDICE as against all Defendants.
  7     3. The Court declines to exercise supplemental jurisdiction over the remainder of
  8        the case and accordingly DISMISSES all remaining claims in this action
  9        WITHOUT PREJUDICE.
 10
 11        The Clerk of the Court shall close the case.
 12
 13        IT IS SO ORDERED.
 14
 15        December 6, 2021
 16
 17                              ____________________________________
 18                                       OTIS D. WRIGHT, II
                                  UNITED STATES DISTRICT JUDGE
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